J. L. B. ALEXANDER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Alexander v. CommissionerDocket No. 39846.United States Board of Tax Appeals14 B.T.A. 124; 1928 BTA LEXIS 3013; November 13, 1928, Promulgated *3013 Walter E. Barton, Esq., for the petitioner.  Leroy L. Hight, Esq., for the respondent.  MORRIS*124 MORRIS: This proceeding is for the redetermination of deficiencies in income tax of $233.14 and $15.68 for the years 1925 and 1926, respectively.  The issues presented are (1) whether the respondent erred in finding that the petitioner realized income in the taxable years as the result of the construction by lessees of a certain building on premises owned by and leased to said lessees by the petitioner and Helen A. Baxter for a period of 20 years, beginning on May 1, 1920, and ending on April 30, 1939; (2) if the respondent did not so err, whether he erred in computing said taxable income by using a rate of depreciation of 2 per cent on said building instead of a rate of 3 per cent.  On the first issue it is the position of the petitioner that he realized no income as a result of the construction by the lessees of said building prior to the expiration of the lease.  The questions herein involved were raised by the same petitioner in a prior proceeding for prior years.  Counsel for the respective parties filed the following stipulation in this proceeding: *3014  It is hereby stipulated and agreed by and between the parties hereto that the decision of the Board in the above-entitled appeal shall be governed and controlled by the decision of the Board in the appeals of Joseph L. B. Alexander, Docket Numbers 14360 and 17474, and Grace M. Alexander, Docket Numbers 14359 and 17829.  Both parties hereto reserve their right to appeal the decision in Docket No. 39846 pursuant to the statute in such cases made and provided.  The decision of the Board in the proceedings therein referred to was promulgated October 23, 1928, . In that decision we held that the respondent was correct in finding that income accrued to the petitioners upon the erection of the improvements upon the realty, and that pursuant to the regulations an aliquot part thereof might be reported for each year of the lease.  We further held that the only evidence offered by the petitioners upon the depreciation question was with respect to the manner of construction of the improvements, from which we were unable to find that the rate used by the respondent was incorrect. In view of the stipulation filed in the instant proceeding and the decision reached*3015  in the proceedings therein referred to, Judgment will be entered for the respondent.